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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

UNITED STATES OF AMERICA,

-vs-                                                                Case No. 8:05-cr-99-T-24EAJ

BISCAIN UMBACIA
__________________________________/

                                           ORDER

       This cause comes before the Court for consideration of Defendant Biscain Umbacia’s

Motion to Dismiss Indictment for Failure to Determine Nationality of Vessel as Required by 46

U.S.C. app. § 1903, and for Failure to Notify Defendant of His Right to Contact the Columbian

Embassy Pursuant to the Vienna Convention on Consular Relations 21 U.S.T. 77 (Doc. No. 45).

The Government filed an opposition thereto (Doc. No. 50).

       Defendant Umbaica moves this Court to dismiss the indictment on the grounds that the

United States did not have jurisdiction over the vessel because the United States Coast Guard

(“Coast Guard”) failed to establish the nationality of the vessel as required by the Maritime

Drug Law Enforcement Act (MDLEA), 46 U.S.C. app. § 1903; and that the Government

subsequently failed to notify the Defendant of his right to contact the Colombian embassy under

Article 36 of the Vienna Convention. For the reasons discussed herein and otherwise argued in

the Government’s opposition (Doc. No. 50), the Court finds that both grounds asserted by

Defendant Umbacia are without merit.

                                   Jurisdiction Over the Vessel

       Section 1903 of the MDLEA prohibits the possession of controlled substances with intent

to distribute by persons on board vessels subject to the jurisdiction of the United States and
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prescribes penalties for this offense. In addition, § 1903 makes it a federal crime to participate in

a conspiracy to commit certain controlled substance offenses while on board a vessel subject to

the jurisdiction of the United States. Section 1903(c) further describes those vessels that are

subject to the jurisdiction of the United States and, for purposes relevant to Defendant

Umbacia’s motion, specifically includes “a vessel without nationality.” See 46 U.S.C. app.

§1903(c)(1)(A). Section 1903(c)(2), in turn, defines a “vessel without nationality” to include the

following:

       (A)     a vessel aboard which the master or person in charge makes a claim of
               registry, which claim is denied by the flag nation whose registry is
               claimed;

       (B)     any vessel aboard which the master or person in charge fails, upon request
               of an officer of the United States empowered to enforce applicable
               provisions of United States law, to make a claim of nationality or registry
               for that vessel; and

       (C)     a vessel aboard which the master or person in charge makes a claim of
               registry and the claimed nation of registry does not affirmatively and
               unequivocally assert that the vessel is of its nationality.

46 U.S.C. app. § 1903(c)(2)(A)-(C)1; see also United States v. Tinoco, 304 F.3d 1088, 1102

(11th Cir. 2002).

       “If the master or person in charge makes a false claim of nationality or registry, or if,

upon request, the master or person in charge[] fails to make any claim, the ship is deemed to be

stateless.” United States v. Rosero, 42 F.3d 166, 171 (3d Cir. 1994). In this case, the vessel bore



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        As indicated by the use of the word “includes,” this list of the ways that a vessel can be
deemed "stateless" is not exhaustive. See United States v. Rosero, 42 F.3d 166, 170 (3d Cir. 1994)
(finding that the statutory language of 46 U.S.C. app. § 1903(c)(2) makes it clear that the term
“‘vessel without nationality’ encompasses not only those vessels that come within the categories
described in subsections (A) and (B), but other vessels as well.”).
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no Colombian flag or other markings of Columbian nationality (Doc. No. 50, Exh. A - Statement

by Lieutenant Junior Grade Scott J. Jason, United States Coast Guard). Importantly, no member

of the vessel’s crew identified himself as the master or captain of the vessel in response to the

boarding team’s direct inquiry (Doc. No. 50, Exh. A - Statement by Lieutenant Junior Grade

Scott J. Jason, United States Coast Guard). Accordingly, there was no one on board willing to

identify himself as the master and competent to make a claim of nationality or registry, and

therefore, jurisdiction was conferred upon the United States under § 1903(c)(2)(B). See Rosero,

42 F.3d at 174; see also United States v. Mosquera, 192 F. Supp. 2d 1334, 1339 (M.D. Fla.

2002).

         Defendant Umbacia asserts that those aboard the vessel identified themselves as

Colombian and one or more crew members identified the vessel as Colombian, and therefore, the

Coast Guard was somehow required to investigate the nationality of the vessel. Defendant

Umbacia, however, fails to cite to any authority that there is an affirmative obligation on the part

of the Coast Guard to make such an inquiry when the master or person in charge fails to make a

claim of registry. The Coast Guard directly inquired which crew member was the master or

captain of the vessel and, upon failure of a master to make a claim of nationality or registry,

accurately determined that the vessel was a “vessel without nationality.” This Court also notes

that defense counsel has failed to tender any evidence that would support Defendant Umbacia’s

assertion of Colombian registry of the vessel.

                         Defendant’s Rights Under the Vienna Convention

         Article 36(1)(b) of the Vienna Convention states that the authorities of a “receiving state”

(in this case, the United States) shall, without delay, inform any detained foreign national of his


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right to have the consular post of the “sending state” (in this case, Colombia) notified of his

detention. See United States v. Li, 206 F.3d 56, 60 (1st Cir. 2000). Article 36(1)(c) gives

consular officers the right to visit and correspond with the detained foreign national and to

arrange for his legal representation. Id. The purpose of the consular notification provision is to

“facilitate consular functions relating to nationals of the sending State.” Vienna Convention art.

36(1).

         In this case, although agents apparently did not notify Defendant Umbacia of his right to

consular notification, the Columbian consulate was notified in writing after Defendant

Umbacia’s arrest in Tampa (Doc. No. 50, Exh. B - March 15, 2005 Letter of Special Agent

Raymond M. Connolly). Therefore, the underlying purpose of the treaty, the requirement that

Colombia be notified of the detention of one of its nationals, was met.

         The Eleventh Circuit has declined to hold whether the Vienna Convention confers

enforceable rights upon individuals. See United States v. Cordoba-Mosquera, 212 F.3d 1194,

1196 (11th Cir. 2000). However, even if this Court were to assume for purposes of Defendant

Umbacia’s motion that he has standing under the Vienna Convention and that there was a

violation of the consular-notification provision, dismissal of the indictment would not be an

appropriate remedy.

         Even if Article 36 [of the Vienna Convention] creates rights enforceable by
         individuals, other circuits have held that the remedies available for a violation of
         Article 36 do not include suppression of evidence or the dismissal of an
         indictment. See United States v. Lombera-Camorlinga, 206 F.3d 882, 885 (9th
         Cir. 2000) (en banc) (holding that exclusion of evidence obtained as a result of
         post-arrest interrogation is not available as a remedy for violation of Article 36);
         United States v. Li, 206 F.3d 56, 60, 62 (1st Cir. 2000) (en banc) (holding that
         appropriate remedies for Article 36 violation do not include suppression of
         evidence or dismissal of indictment). We would follow the lead of these
         circuits.

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Cordoba-Mosquera, 212 F.3d at 1198 (emphasis added).

       Accordingly, it is ORDERED AND ADJUDGED that Defendant Umbacia’s Motion to

Dismiss Indictment for Failure to Determine Nationality of Vessel as Required by 46 U.S.C. app

§ 1903, and for Failure to Notify Defendant of His Right to Contact the Columbian Embassy

Pursuant to the Vienna Convention on Consular Relations 21 U.S.T. 77 (Doc. No. 45) is

DENIED.

       DONE AND ORDERED at Tampa, Florida, this 17th day of June, 2005.




Copies to:
Counsel of Record




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